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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                                CASE NO. 3:03cr127LAC

MICHAEL V. NEWELL

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on March 5, 2008
Motion/Pleadings: MOTION AND QUESTIONNAIRE FOR REDUCTION OF SENTENCE
PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
Filed by DEFENDANT PRO SE              on 2/29/08 Doc.# 480

RESPONSES:
                                               on                        Doc.#
                                               on                        Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the    foregoing,        it   is     ORDERED      this   6 th   day   of
March, 2008, that:
(a) The relief requested is DENIED.             MOOT.
(b) Sentence has been reduced (doc. 477).




                                                                  s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
